                        UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

                                    DOCKET NO. 3:04CR250-C

UNITED STATES OF AMERICA,                         )
                                                  )             PRELIMINARY ORDER
                v.                                )               OF FORFEITURE
                                                  )
(6) JACQUES MAULICE DEGREE                        )


         In the First Superseding Bill of Indictment in this case, the United States sought

forfeiture of property of the defendant pursuant to 21 U.S.C. §853(a) as property that was

proceeds of and/or was used to facilitate the drug crimes charged, together with any other

substitute property, which would be subject to forfeiture under §853(p).

         Defendant entered into a plea agreement; subsequently pled guilty to Count One in the

First Superseding Bill of Indictment; and was adjudged guilty of the offense charged in that

count.

         On May 11, 2005, this Court entered a preliminary order of forfeiture as to property of

defendant including the sum of $350,000 in criminal proceeds. Because these funds have not

been recovered, the government has moved in accordance with 21 U.S.C. §853(p) for a

preliminary order forfeiting certain other property of the defendant as substitute property.

         Based on an affidavit submitted with the government’s motion, it appears that the

requirements of §853(p) have been satisfied.

         It is therefore ORDERED that the following property belonging to defendant is hereby

forfeited to the United States for disposition according to law, subject to the provisions of 21

U.S.C. §853(n): the sum of $8598 as part of $9198 in United States currency found on or about

October 6, 2004, in a freezer in defendant’s residence in Shelby, North Carolina.



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        Pursuant to 21 U.S.C. §853(n)(1), the government shall publish in a newspaper of general

circulation notice of this order; notice of its intent to dispose of the property in such manner as

the Attorney General may direct; and notice that any person, other than the defendant, having or

claiming a legal interest in any of the above-listed forfeited property must file a petition with the

Court within thirty days of publication of notice or of receipt of actual notice, whichever is

earlier. This notice shall state that the petition shall be for a hearing to adjudicate the validity of

the petitioner’s alleged interest in the property, shall be signed by the petitioner under penalty of

perjury, and shall set forth the nature and extent of the petitioner’s right, title or interest in each

of the forfeited properties and any additional facts supporting the petitioner’s claim and the relief

sought. The United States may also, to the extent practicable, provide direct written notice to

any person known to have alleged an interest in property that is the subject of this order of

forfeiture, as a substitute for published notice as to those persons so notified.

        Upon adjudication of all third-party interests, this Court will enter a final order and

judgment of forfeiture pursuant to 21 U.S.C. §853(n).



                                                   Signed: April 26, 2006




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